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v.




                                                                                                                    DEFENDANT(S)




      MOTION       FOR_~A-~ffi~-t~V\~ol~ed~--~o_vvi-=-tr-l~a~,      "'~+------~---
                                      [state what you want the Court to do) .


       I,   A-(::h\ V(5 (:j)'t).Je S             ,the 13' plaintiff/ 0   defendant [check the appropriate box] in th~

above-named proceeding, respectfully move this Court to issue an order            A-Mef/\.JeJ         Co N'lQ la,H +-
                                                                                                                '
                                             [state what you want the Court to do]

                                             '
       The reason(s) that I am entitled to the reliefI seek is the following:

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                                                                                                       General Motion Form
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                                                   (You may use additional 8 1/2 x 11 paper if needed)

                I, the undersigned, declare under penalty of perjury that the information contained in th.is document is true and
     correct.
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                [For use if you are a prisoner:]

                I hereby certify that a copy of this complaint was delivered to the prisoner mail system for mailing on


                                                                       Signed:   :)(/4/~        [your signature]

                                                             CERTIFICATE OF SERVICE

                I hereby certify that a copy of the abov~ a..Me         nAeJ Co'iY'9""--w,.f:                      was served upon
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